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                                                         FILED: November 19, 2019


                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


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                                       No. 17-7513
                                 (1:10-cr-00279-GBL-1)
                                  (1:16-cv-00744-GBL)
                                 ___________________

UNITED STATES OF AMERICA

                Plaintiff - Appellee

v.

EUGENE ANTHONY THOMAS, a/k/a Tony Thomas

                Defendant - Appellant

                                 ___________________

                                 RULE 45 MANDATE
                                 ___________________

      This court's order dismissing this appeal pursuant to Local Rule 45 takes

effect today.

      This constitutes the formal mandate of this court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.


                                                         /s/Patricia S. Connor, Clerk
